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                                                                                                            FILED
                                                                                                         U.S. District Court
                                                                                                         District of Kansas


                                                                                                       APR O2 2020
                               IN THE UNITED STATES DISTRJCT COURT
                                    FOR THE DI STRJ CT OF KANSAS

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                                                               )
 (Enter above the ful l na me of the P laint iff(s)            )
                                                               )
                                                                                    6:20-cv-01091-JAR-GEB
 vs.                                                           )    Case Number- - - - - - - -
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                                                               )
                                                               )
                                                               )
 Street and number                                             )
13:tf/JJJ lkv~v l.oui u·tU1f--C                                )
 C ity                       State              Z ipCode )

 (Enter above the ful l na me and address of the
 D efe ndant in this actio n - list t he name and
 address of any additiona l defendants o n the back
 sid e of this sheet) .
                                              CIVIL COMPLAINT

 I.       Parties to this c iv il act io n:

          (In item A be low, place yo ur name in the first bla nk and place yo ur present address in the
          seco nd bla nk. D o t he same for add itio na l p lai nt iffs, if any, o n the back s id e of this sheet).

          A.       Name of plaint iff    Je,(ft_       J   J       R,   Jcci?,S-
                   Address ,    ,ob :r.ov~roL-S s=                      Qr




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       (In item B below, w rite the full name of the defendant in the first blank. In the second
       blank, wr ite the official position of the defendant. Use ite m C for the names and positions
       of any ad ditiona l defendants).

       B.      Defendant            t1ill m.JI . DD_-<)/de4                                                                                                  IS


               emp loyed at            A.Hwf/' Rc-Wrd :r
               tklc:lk~~c,-f'                                     L/s~f?cf)
       C.      Additio na l Defendants-----.'Ja_,_h}¢---ll-----¥c.,,_r)h~-ld'"'----;,/7                    . _ J/'
                                                                                  "--+-------vf1_.c;2.-£.-Ati:,----Ja                                 5:~+-_ _
                                                                                                                      c__"""t.(. . . ,VJ,;i,.-. ,-_,__;

             CA ~Ct<--Sb ~                                                      v2:uzCJ .~-1

II.    Jurisdiction:

       (Complete o ne or more of t he fo llowing subparagraphs, A. , B.1 , B.2., or B. 3., w hichever is
       applicab le.)

       A. (If Applicab le) Diversity of citizens hip and amount :
               1.            Plaintiff is a citizen of the State of                                  K,Ji~
              2.             T he first-named defendant above is either
                                                                                                 •          )      I
                                           a.      a c it izen of the State of/J?UJ 2tt.JA« ✓                                                    ; or
                                            b. a corporatio n incorporated under the laws of the State of
                                                  _ _ _ _ _ _ _ _ and having its principal place of business
                                                   in a State other than the State of which plaintiff is a citizen.


              3. The second-named defendant above is eit her
                                           a.             a citizen of the State of                      (4__[1 +c>(i}1a                            ; or
                                           b.             a corporatio n incorporated under the laws of the State of
                                           _ _ _ _ __                         and having its principal place of business in a
                                           State other than the State of w hich plaintiff is a citizen.


              (If there are more than two defendants, set forth the forego ing information for each
              additional defendant on a separate page a nd attach it to th is comp laint.)
              Plaintiff states that the matter in co ntroversy exceeds, exc lusive of interest and
              costs, the sum of seve nty-five thousand dollars ($75 ,000 .00) .



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        B.     (If app licable) Jurisdiction fo unded on gro unds other than diversity
        (Check any of the fo llowing which app ly to this case).


                        This case arises und er the fo llowing section of the Const itution of
                        the United States or statute of the United States (28 U.S.C. §1331):
                        Constitution, Artic le_ _ , Section_ _
                        Statute, US Code, T itle_ _ , Section_ _

        _0_ 2.          This case arises because of vio lation of the civi I or equal rights,
                        privileges, or immunities accorded to cit izens of, or perso ns within
                        the jurisdiction of, the United States (28 U.S .C. §1343).

        _0_ 3.          Other gro unds (specify and state any statute which gives rise to such
                        grou nds):




 Ill.   Statement of Claim :

 (State here a short and plain statement of the c laim showing that plaint iff is entitled to
 relief. State what each defe nd ant did that violated the right(s) of the plaintiff, including
 dates and places of such conduct by the defendant(s) . Do not set fort h legal arguments.
 If yo u intend to allege more than one cla im, number and set forth each claim in a separate
 paragraph. Attach an additional sheet, if necessary, to set forth a short and p lain statement
 of the cla im[s].)




 IV.    Relief:

 (State briefly exact ly what judgement or relief you want from the Co urt. Do not make
 legal arguments.)


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    J 5 5u l L f\a Jt>niJtC ~-k1lavv
 V.      Do you cla&Jhe wrongs alleged in yo ur comp laint are continuing to occur at the
 present time? Yes _ Q NoO

 VI.    Do you claim actu al damages fo r the acts alleged in yo ur compla int?
        Y esIStJI   No !_JI

 VII.   Do you claim punitive monetary damages? Yes        E2JI   No D


 If yo u answered yes, state the amounts claimed and the reasons you claim yo u are entitled
 to recover money damages.

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       Vlll.   Administrative Procedures:

               A.     Have the cla ims wh ich yo u make in this c ivil action been presented through
               any type of Administrative Procedure within any government agency?
               Yes LJ No [SZ]

               B.     If you answered yes, g ive the date yo ur claims were presented,
               how they were presented, and the result of that procedure:




               C.       If yo u answered no, give the reasons, if any, why the claims made in this
               act ion have not been presented through Ad min istrative Procedures:




IX.    Related Litigation:

       P lease mark the statement that pertains to this case:


        •             This cause, or a substant ia lly equi valent comp laint, was previously fi led in
                      th is court as case number _ _ _ _ _ _ _ and assigned to the Honorable
                      Judge - - - -- - - - - - - - -

                      Ne ither this cause, nor a substantially equivalent comp laint, previously has
                      been filed in this court, and therefore this case may be opened as an original
                      proceeding.


                                                      Signature of Plaintiff

                                                     T4Ull         R ~
                                                     Name (Print or Type)

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                                                 City
                                                                 Hs
                                                                State     Zip Code


                                                 Te lephone Number


                         DESIGNATION OF PLACE OF TRIAL

Plaintiff des ignates J rs;:nwichita, QKansas City , or QTopeka} , Kansas as the
                                         (Select One)
location for the trial in this matter.


                                                 Signature of Plaintiff


                           REQUEST FOR TRIAL BY JURY

Plaintiff requests trial by jury { l'Sl]Yes or QNo }
                                       (Select One)



                                                 Signature of Plaintiff

Dated: ~ bpoJo
 (Rev. 10/ 15)




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